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                                                                     APPEAL,CAT A,CLOSED
                              U.S. District Court
                   District of Columbia (Washington, DC)
            CRIMINAL DOCKET FOR CASE #: 1:23−cr−00343−ACR−1

Case title: USA v. LITTLEJOHN                         Date Filed: 09/29/2023

Assigned to: Judge Ana C. Reyes

Defendant (1)
CHARLES EDWARD                    represented by Lisa Manning
LITTLEJOHN                                       SCHERTLER, ONORATO, MEAD & SEARS,
                                                 LLP
                                                 555 13th Street, N.W.
                                                 Suite 500 West
                                                 Washington, DC 20004
                                                 202−713−6714
                                                 Fax: 202−628−4177
                                                 Email: LManning@SchertlerLaw.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                              Noah Cherry
                                              SCHERTLER ONORATO MEAD & SEARS
                                              District of Columbia
                                              555 − 13th Street, NW
                                              Suite 500 West
                                              Washington, DC 20004
                                              202−675−4381
                                              Fax: 202−628−4177
                                              Email: ncherry@schertlerlaw.com
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

Pending Counts                                Disposition
26 U.S.C. 7213(a)(l);
UNAUTHORIZED DISCLOSE                         Defendant sentenced to Sixty (60) Months of
OF INCOME TAX RETURN −                        incarceration, followed by Thirty−six (36) Months
FED. EMPLOYEE; Disclosure of                  of Supervised Release. Special assessment imposed
Tax Return and Return                         in the total amount of $100.00. Defendant ordered
Information                                   to pay a fine in the amount of $5,000.00.
(1)

Highest Offense Level (Opening)
Felony

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Terminated Counts                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                 Disposition
None



Plaintiff
USA                                  represented by Jennifer Anne Clarke
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    Criminal Division, Public Integrity Section
                                                    1400 New York Avenue, NW
                                                    #12000
                                                    Washington, DC 20005
                                                    202−616−6067
                                                    Email: jennifer.clarke2@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant U.S. Attorney

                                                    Jonathan Edward Jacobson
                                                    DOJ−Crm
                                                    U.S. Department of Justice − Public
                                                    Integrity Section
                                                    1331 F St. NW
                                                    Ste 3rd Floor
                                                    Washington, DC 20004
                                                    202−934−0886
                                                    Email: jonathan.jacobson@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant U.S. Attorney

                                                    Lauren Castaldi
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    Criminal Division
                                                    1301 New York Avenue, NW
                                                    10th Floor
                                                    Washington, DC 20530
                                                    202−305−4495
                                                    Email: lauren.castaldi@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant U.S. Attorney

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Date Filed   #    Docket Text
09/29/2023    1   INFORMATION as to CHARLES EDWARD LITTLEJOHN (1) count(s) 1.
                  (FORFEITURE ALLEGATION) (zltp) (Entered: 09/29/2023)
09/29/2023    3   NOTICE OF ATTORNEY APPEARANCE: Lisa Manning appearing for CHARLES
                  EDWARD LITTLEJOHN (Manning, Lisa) (Entered: 09/29/2023)
10/04/2023    4   Unopposed MOTION for Victim Rights (Alternative Notification) by USA as to
                  CHARLES EDWARD LITTLEJOHN. (Attachments: # 1 Text of Proposed
                  Order)(Castaldi, Lauren) (Entered: 10/04/2023)
10/06/2023        NOTICE OF HEARING as to CHARLES EDWARD LITTLEJOHN: Arraignment and
                  Plea Agreement Hearing set for 10/12/2023 at 3:15 PM in Courtroom 12 before Judge
                  Ana C. Reyes. (zcdw) (Entered: 10/06/2023)
10/10/2023    5   ORDER granting the Government's Unopposed 4 Motion to Provide Alternative
                  Victim Notification Pursuant to 18 U.S.C. § 3771(d)(2). See document for details.
                  Signed by Judge Ana C. Reyes on 10/10/2023. (lcacr1) (Entered: 10/10/2023)
10/12/2023    6   NOTICE OF ATTORNEY APPEARANCE Jennifer Anne Clarke appearing for USA.
                  (Clarke, Jennifer) (Entered: 10/12/2023)
10/12/2023        Minute Entry for proceedings held before Judge Ana C. Reyes: Plea Agreement
                  Hearing as to CHARLES EDWARD LITTLEJOHN held on 10/12/2023. Plea of Guilty
                  entered by CHARLES EDWARD LITTLEJOHN on Count 1. Defendant referred to the
                  Probation Office for Presentence Investigation. Sentencing set for 1/29/2024 at 10:00
                  AM in Courtroom 12− In Person before Judge Ana C. Reyes. Bond Status of
                  Defendant: Placed on personal recognizance; appeared in person. Court Reporter: Jeff
                  Hook. Defense Attorney: Lisa Manning. US Attorneys: Lauren Castaldi and Jennifer
                  Clarke. Pretrial Officer: Andre Sidbury. (zcdw) (Entered: 10/15/2023)
10/12/2023    8   PLEA AGREEMENT as to CHARLES EDWARD LITTLEJOHN. (zcdw) (Entered:
                  10/15/2023)
10/12/2023    9   FACTUAL BASIS FOR PLEA by USA as to CHARLES EDWARD LITTLEJOHN.
                  (zcdw) (Entered: 10/15/2023)
10/12/2023   10   ORDER Setting Conditions of Release as to CHARLES EDWARD LITTLEJOHN.
                  Signed by Judge Ana C. Reyes on 10/12/2023. (Attachments: # 1 Appearance Bond)
                  (zcdw) (Entered: 10/15/2023)
10/16/2023   11   WAIVER OF INDICTMENT by CHARLES EDWARD LITTLEJOHN. Signed by
                  Judge Ana C. Reyes on 10/16/2023. (zcdw) (Entered: 10/18/2023)
10/16/2023   12   WAIVER of Trial by Jury as to CHARLES EDWARD LITTLEJOHN. Approved by
                  Judge Ana C. Reyes on 10/16/23. (zcdw) (Entered: 10/18/2023)
10/23/2023   13   TRANSCRIPT OF PLEA AGREEMENT HEARING in case as to CHARLES
                  EDWARD LITTLEJOHN before Judge Ana C. Reyes held on October 12, 2023. Page
                  Numbers: 1 − 32. Date of Issuance: October 23, 2023. Court Reporter: Jeff Hook.
                  Telephone number: 202−354−3373. Transcripts may be ordered by submitting the
                  Transcript Order Form




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                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 11/13/2023. Redacted Transcript Deadline set for 11/23/2023.
                  Release of Transcript Restriction set for 1/21/2024.(Hook, Jeff) (Entered: 10/23/2023)
12/04/2023   14   Unopposed MOTION for Protective Order by USA as to CHARLES EDWARD
                  LITTLEJOHN. (Attachments: # 1 Text of Proposed Order)(Castaldi, Lauren) (Entered:
                  12/04/2023)
12/04/2023   15   ORDER granting 14 Motion for Protective Order as to CHARLES EDWARD
                  LITTLEJOHN. See document for details. Signed by Judge Ana C. Reyes on 12/4/2023.
                  (lcacr1) (Entered: 12/04/2023)
01/03/2024   17   MOTION for Forfeiture of Property (Preliminary) by USA as to CHARLES
                  EDWARD LITTLEJOHN. (Attachments: # 1 Text of Proposed Order Proposed
                  Preliminary Order of Forfeiture)(Jacobson, Jonathan) (Entered: 01/03/2024)
01/05/2024   18   ORDER granting 17 Motion for Forfeiture of Property as to CHARLES EDWARD
                  LITTLEJOHN (1). See document for details. Signed by Judge Ana C. Reyes on
                  1/5/2024. (lcacr1) (Entered: 01/05/2024)
01/12/2024   21   NOTICE OF ATTORNEY APPEARANCE: Noah Cherry appearing for CHARLES
                  EDWARD LITTLEJOHN (Cherry, Noah) (Entered: 01/12/2024)
01/12/2024   22   Unopposed MOTION for Leave to File Under Seal and to Redact Certain Information
                  by CHARLES EDWARD LITTLEJOHN. (Attachments: # 1 Text of Proposed
                  Order)(Cherry, Noah) (Entered: 01/12/2024)
01/12/2024        MINUTE ORDER as to CHARLES EDWARD LITTLEJOHN (1). Upon consideration
                  of Defendant Charles Littlejohn's 22 Unopposed Motion for Leave to File Under Seal
                  and to Redact Certain Information in Defendant's Memorandum in Aid of Sentencing
                  and for good cause shown, it is hereby ORDERED that Defendant Littlejohn's Motion
                  is GRANTED. See United States v. Hubbard, 650 F.2d 293, 323−24 (D.C. Cir. 1980)
                  (discussing particularized privacy interests to be weighed against public access). The
                  attachments shall be filed under seal and Defendant is permitted to redact sensitive
                  information. SO ORDERED. Signed by Judge Ana C. Reyes on 1/12/2024. (lcacr1)
                  (Entered: 01/12/2024)
01/16/2024   23   SENTENCING MEMORANDUM by USA as to CHARLES EDWARD
                  LITTLEJOHN (Jacobson, Jonathan) (Entered: 01/16/2024)
01/17/2024   25   SENTENCING MEMORANDUM by CHARLES EDWARD LITTLEJOHN
                  (Manning, Lisa) (Entered: 01/17/2024)
01/27/2024   31


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                  NOTICE of Supplemental Authority by CHARLES EDWARD LITTLEJOHN
                  (Attachments: # 1 Exhibit A − Press Release, # 2 Exhibit B − Docket, # 3 Exhibit C −
                  Indictment, # 4 Exhibit D − Edwards Memorandum, # 5 Exhibit E − Patel
                  Memorandum, # 6 Exhibit F − Venkata Memorandum)(Manning, Lisa) (Entered:
                  01/27/2024)
01/28/2024   32   STRICKEN PURSUANT TO COURT'S ORDER OF 1/29/2024.......NOTICE
                  Concerning Question Posed By Court by USA as to CHARLES EDWARD
                  LITTLEJOHN (Jacobson, Jonathan) Modified on 1/29/2024 (zcdw). (Entered:
                  01/28/2024)
01/28/2024   33   RESPONSE by USA as to CHARLES EDWARD LITTLEJOHN re 31 NOTICE of
                  Supplemental Authority (Jacobson, Jonathan) Modified text to include text on
                  1/29/2024 (zltp). (Entered: 01/28/2024)
01/29/2024        Minute Entry for proceedings held before Judge Ana C. Reyes: Sentencing held on
                  1/29/2024 as to CHARLES EDWARD LITTLEJOHN. Count 1: Defendant sentenced
                  to Sixty (60) Months of incarceration, followed by Thirty−six (36) Months of
                  Supervised Release. Special Assessment imposed in the total amount of $100.00.
                  Defendant ordered to pay a fine in the amount of $5,000.00. Defendant approved to
                  voluntarily surrender for service of sentence after 4/30/2024. The Court orally ruled
                  that docket #32, Notice Concerning Question Posed By Court, is stricken from the
                  record. Bond Status of Defendant: Remains on personal recognizance. Court Reporter:
                  Christine Asif. Defense Attorneys: Lisa Manning and Noah Cherry. US Attorneys:
                  Jonathan Jacobson and Jennifer Clarke. Probation Officer: Andre Wilson. Victim
                  Impact Witness: Senator Rick Scott. (zcdw) Modified on 1/29/2024 (zcdw). (Entered:
                  01/29/2024)
01/31/2024   35   JUDGMENT as to CHARLES EDWARD LITTLEJOHN. Statement of Reasons Not
                  Included. Signed by Judge Ana C. Reyes on 1/31/2024. (Attachments: # 1 Preliminary
                  Order of Forfeiture) (zltp) (Entered: 02/09/2024)
                  Main Document
                  Attachment # 1 Preliminary Order of Forfeiture
01/31/2024   36   STATEMENT OF REASONS as to CHARLES EDWARD LITTLEJOHN. re 35
                  Judgment Access to the PDF Document is restricted per Judicial Conference Policy.
                  Access is limited to Counsel of Record and the Court. Signed by Judge Ana C. Reyes
                  on 1/31/2024. (zltp) (Entered: 02/09/2024)
02/08/2024   34   TRANSCRIPT OF PROCEEDINGS in case as to CHARLES EDWARD
                  LITTLEJOHN before Judge Ana C. Reyes held on 1/29/2024; Page Numbers: 1−117.
                  Date of Issuance:2/8/24. Court Reporter Christine T. Asif, Telephone number
                  202−354−3247, Transcripts may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

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                  available to the public via PACER without redaction after 90 days. The policy, which

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                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 2/29/2024. Redacted Transcript Deadline set for 3/10/2024.
                  Release of Transcript Restriction set for 5/8/2024.(Asif, Christine) (Entered:
                  02/08/2024)
02/10/2024   37   MOTION to Appoint Counsel (Federal Public Defender) Under the Criminal Justice
                  Act by CHARLES EDWARD LITTLEJOHN. (Attachments: # 1 Text of Proposed
                  Order)(Manning, Lisa) (Entered: 02/10/2024)
02/10/2024        MINUTE ORDER as to CHARLES EDWARD LITTLEJOHN (1). Upon consideration
                  of Defendant Charles Littlejohn's 37 Motion for Court−Appointed Counsel under the
                  Criminal Justice Act and to Appoint the Office of the Federal Public Defender to
                  Advise Him on Appeal and for good cause having been shown, it is hereby ORDERED
                  that Defendant Littlejohn's Motion is GRANTED. The Court finds Mr. Littlejohn
                  eligible for Court−appointed counsel under the Criminal Justice Act (18 U.S.C. §
                  3006A) and appoints the Office of the Federal Public Defender to represent him on
                  appeal. SO ORDERED. Signed by Judge Ana C. Reyes on 2/10/2024. (lcacr1)
                  (Entered: 02/10/2024)
02/11/2024        MINUTE ORDER as to CHARLES EDWARD LITTLEJOHN (1). At the request of
                  Mr. Littlejohn, it is ORDERED that the Court's February 10, 2024 Order is hereby
                  AMENDED as follows. Upon consideration of Mr. Littlejohn's 37 Motion for
                  Court−Appointed Counsel under the Criminal Justice Act and to Appoint the Office of
                  the Federal Public Defender to Advise Him on Appeal, and for good cause having been
                  shown, Mr. Littlejohn's Motion is GRANTED in part, insofar as the Court finds Mr.
                  Littlejohn eligible for Court−appointed counsel under the Criminal Justice Act (18
                  U.S.C. § 3006A). With respect to Mr. Littlejohn's request for appointment of the Office
                  of the Federal Public Defender to represent him on appeal, the Court defers
                  appointment of counsel to the Court of Appeals. SO ORDERED. Signed by Judge Ana
                  C. Reyes on 2/11/2024. (lcacr1) (Entered: 02/11/2024)
02/12/2024   38   NOTICE OF APPEAL − Final Judgment by CHARLES EDWARD LITTLEJOHN re
                  35 Judgment, 36 Statement of Reasons,. Fee Status: No Fee Paid. Parties have been
                  notified. (Manning, Lisa) (Entered: 02/12/2024)




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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                        Case No. 1:23-cr-00343-ACR
                     Plaintiff,
                                                           PRELIMINARY ORDER
v.                                                            OF FORFEITURE

CHARLES EDWARD LITTLEJOHN,

                     Defendant.

      Based on the United States’ motion for a Preliminary Order of Forfeiture; on the

Information and the Plea Agreement entered into between the United States and Defendant

Charles Edward Littlejohn; and on the Court having found that certain property is subject

to forfeiture pursuant to 26 U.S.C. § 7302 in conjunction with 28 U.S.C. § 2461(c), and

that the government has established the requisite nexus between such property and the

offense to which the Defendant has been found guilty,

      IT IS HEREBY ORDERED that:

      1.      The United States’ Motion for a Preliminary Order of Forfeiture [Docket No.

17] is GRANTED;

      2.      The following property is forfeited to the United States pursuant to 26 U.S.C.

§ 7302 in conjunction with 28 U.S.C. § 2461(c):

           a. Apple iPod Nano, serial number DCYG53XQDDVX (silver);

           b. Lenovo ThinkPad X1 Carbon Gen 8 laptop computer, serial number PF-
              2C4MK8;

           c. Lenovo ThinkPad X201 laptop computer, serial number R9-5KB1B;

           d. IBM ThinkPad, serial number L302F9X;




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      7.     This Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary pursuant to Fed. R. Crim. P. 32.2(e).


                                                  ANA C. REYES
                                                  United States District Judge




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